Case 2:05-cr-20074-.]PI\/| Document 50 Filed 06/01/05 Page 10f2 Page|D_SO

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IN THE UNITED sTATEs DISTRJ:cT coURT F"~ED Bv’ URM_'D.G_
FoR THE wEsTERN DISTRICT oF TENNESSEE

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W.D. mr ~ »
UNITED STATES OF AMERICA, j m‘ ' ‘”'MFH*S~.:

Plaintiff,
vs. CR. NO. 05~20074*Ma
ARIANE GR]-\NT l

TAMMY LEWIS,
CURTIS SPRINGER,

~_._,~_,~_r-_,¢~._»-._/~_._.¢u~._/~.._/\.._,

Defendants.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCL'UDA.'BLE DELA'Y

 

This cause came on for a report date on April 2l, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period from April 21, 2005 through July l5, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

) .L
IT IS SO ORDERED this 3 5 day of May, 2005.

N{//Wz_____

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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UNITED s`…ATEIsTIC COURT - WESTERN D's'TRCT oFTENNEssEE

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This notice confirms a copy cf the document docketed as number 50 in
case 2:05-CR-20074 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

